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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                    Debtors. 1                           (Joint Administration Requested)

                                                                         Docket Ref. Number: 19

                                                         Hearing Date: August 11, 2023 at 10:00 A.M. (ET)

     NOTICE OF HEARING2 ON MOTION OF THE DEBTORS FOR INTERIM AND
    FINAL ORDERS (I) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION
       FINANCING AND (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING
       ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES, (III)
    MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A FINAL HEARING,
                     AND (V) GRANTING RELATED RELIEF

                 PLEASE TAKE NOTICE that on August 9, 2023, the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) filed the Motion of the Debtors for Interim

and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize

Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying

the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket

No. 19] (the “DIP Financing Motion”).

                 PLEASE TAKE FURTHER NOTICE that the Debtors have attached to the

DIP Financing Motion: (a) the proposed Interim Order (I) Authorizing Debtors (A) To Obtain

Postpetition Financing and (B) To Utilize Cash Collateral, (II) Granting Adequate Protection To


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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
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    The hearing will be conducted entirely via Zoom videoconference. You may register to monitor or appear at
    the hearing by following this link: https://debuscourts.zoomgov.com/meeting/register/vJIsc-mhrzIjE-bzoH-
    5SpctbVpSxEZEe3s.

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Prepetition Secured Parties, (III) Modifying The Automatic Stay, (IV) Scheduling A Final Hearing,

and (V) Granting Related Relief (the “Proposed Interim DIP Order”). A copy of the revised

Proposed Interim DIP Order (the “Revised Proposed Interim DIP Order”) is attached hereto as

Exhibit A.3 A redline showing changes from the Proposed Interim DIP Order filed with the DIP

Financing Motion is attached hereto as Exhibit B.

                 PLEASE TAKE FURTHER NOTICE that the Debtors intend to seek interim

approval of the DIP Financing Motion and entry of the Revised Proposed Interim Order in

substantially the form attached hereto at a hearing conducted entirely via Zoom video conference

(the “Interim Hearing”) before the Honorable Thomas M. Horan at the United States Bankruptcy

Court for the District of Delaware (the “Court”), located at 824 North Market Street, 3rd Floor,

Wilmington, Delaware 19801, on August 11, 2023 at 10:00 a.m. (prevailing Eastern Time). A

copy of the DIP Financing Motion may be obtained for a fee through the Court’s website at

www.deb.uscourts.gov, referencing Case No. 23-11131 (TMH), or a copy may be obtained for

free by accessing the Debtors’ restructuring website at https://cases.stretto.com/Amyris.

                 PLEASE TAKE FURTHER NOTICE that, after the Interim Hearing, the

Debtors will serve upon you a complete copy of: (a) the DIP Financing Motion; (b) any Interim

Order entered by the Court at the Interim Hearing; and (c) notice of the final hearing on the

DIP Financing Motion.



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 Please note, the attached Revised Proposed Interim Order attached hereto includes the Senior Secured Super
Priority Debtor in Possession Loan Agreement which was inadvertently omitted from Docket No. 19.

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                 PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to

modify, if necessary, the Revised Proposed Interim Order before or at the Interim Hearing.

 Dated: August 10, 2023                          PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
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                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




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                                       Exhibit A

                              Proposed Interim DIP Order




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